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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 FLAME S.A.,

                        Plaintiff,

 GLORY WEALTH SHIPPING PTE LTD.,

                        Consolidated Plaintiff,                Civil Action Nos.
                                                               2:13-cv-00658-RGD-LRL
            v.                                                 2:13-cv-00704-RGD-LRL
 INDUSTRIAL CARRIERS, INC.,
 VISTA SHIPPING, INC., and
 FREIGHT BULK PTE. LTD., and
 VIKTOR BARANSKIY,

                        Defendants.


              REPLY BRIEF IN SUPPORT OF PLAINTIFF FLAME S.A.’S
           FIRST MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS

        Plaintiff Flame S.A. (“Flame”), by counsel, for its Reply Brief in Support of its First

 Motion for Award of Attorneys’ Fees and Costs, states as follows:

                                 PRELIMINARY STATEMENT

        In response to Flame’s First Motion for Award of Attorneys’ Fees and Costs, Defendant

 Freight Bulk Pte. Ltd. (“FBP”) raises just one objection: that attorneys’ fees and costs related to

 Flame’s First Motion to Compel (D.E. #25) should not have been included. However, FBP’s

 argument that Flame is not entitled to fees and costs related to this first motion is wholly without

 merit. Rule 37(a)(5) of the Federal Rules of Civil Procedure mandates that when a motion to

 compel is granted, the court must require the party whose conduct necessitated the motion or the

 party or attorney advising the conduct to pay the moving party’s reasonable expenses incurred in

 making the motion, unless specific circumstances exist which are not present here. Flame’s

 success on its First Motion to Compel entitles it to recover its attorneys’ fees and costs associated
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 with that motion. Furthermore, because FBP’s continued refusal to provide the discovery sought

 in Flame’s First Motion to Compel was part of the basis for Flame’s Third Motion to Compel

 (D.E. # ), the fees and costs associated with the First Motion to Compel are also recoverable to

 Flame as expenses incurred in bringing the Third Motion to Compel.

        Because Flame is entitled to recover the fees and costs associated with all three of its

 successful motions to compel and because FBP does not contest the reasonableness of the hours

 asserted or the rates used by Flame, this Court should award Flame its attorneys’ fees in the

 amount of $31,196.00 and its costs in the amount of $927.49.

                                           ARGUMENT

 I.     Because Flame prevailed on its First Motion to Compel, it is entitled to recover its
        expenses incurred in making the motion.

        If a motion to compel is granted, “the court must, after giving an opportunity to be heard,

 require the party or deponent whose conduct necessitated the motion . . . to pay the movant’s

 reasonable expenses incurred in making the motion, including attorney’s fees.” Fed. R. Civ. P.

 37(a)(5) (emphasis added). This award is mandatory, unless the movant filed the motion before

 attempting in good faith to obtain the disclosure or discovery without court action, the opposing

 party’s nondisclosure, response or objection was substantially justified, or other circumstances

 make an award of expenses unjust. Id. FBP does not argue that any of these three circumstances

 apply here and, in fact, none do.

        Acknowledging that this Court granted Flame’s First Motion to Compel, FBP’s only

 apparent argument against the inclusion of attorneys’ fees and costs related to the first motion is

 a claim that the Court “did not grant attorneys fees for either side as a result of those motions or

 that hearing.” FBP’s Response, p. 2. This circular argument is without merit. In its motion for

 fees and costs, Flame distinctly asked this Court to grant its request for fees and costs related to



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 its first motion to compel. Further, Rule 37(a)(5) does not include a requirement that a specific

 request for fees and costs be set forth in the initial motion. See Branch v. Bank of Am., 2013 U.S.

 Dist. LEXIS 56993, *12-13 (D. Md. 2013) (argument that the moving party had not requested

 the fees “disregards the clear text of Rule 37(a)(5), which mandates the award of attorney’s fees

 when the Court grants a motion to compel and the failure to provide the discovery was not

 substantially justified, nor the imposition of sanctions unjust.”).

        Additionally, because FBP has not identified any basis under Rule 37(a)(5) for denying

 this mandatory award, the fees and costs incurred in connection with Flame’s First Motion to

 Compel should be granted. See Kemp v. Harris, 263 F.R.D. 293, 297 (D. Md. 2009) (“parties

 must sufficiently argue that they were substantially justified in their actions.”). FBP’s response

 to Flame’s motion contains no such argument.

        In fact, this Court has found that the position taken by FBP with regard to the discovery

 sought by Flame in the First Motion to Compel was not substantially justified. In its First

 Motion to Compel, Flame sought discovery relating to whether specific entities were alter egos

 for each other. On April 9, 2014, this Court granted Flame’s First Motion to Compel and

 ordered FBP to produce documents responsive to Flame’s discovery requests related to this

 issue. FBP failed to comply with the Court’s Order. On April 21, 2014, Flame filed its Third

 Motion to Compel, one of the grounds for which was FBP’s failure to provide the discovery

 responses sought in the First Motion to Compel. As Flame set forth in its Third Motion to

 Compel, “Flame remains in the same position that it has been since before the [April 9] hearing:

 it is not obtaining meaningful discovery from FBP as required under the Rules and this Court’s

 orders” and thus stated that it renewed its motion. D.E. #180, p. 5. In its Order entered on April

 30. 2014, this Court repeated its ruling from the bench on April 9, 2014 regarding discovery




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 related to the alter ego issue and specifically directed FBP to respond to Flame’s First Set of

 Interrogatories and produce documents responsive to Flame’s Second Request for Production of

 Documents (just as Flame had sought in the First Motion to Compel). April 30, 2014 Order

 (D.E. #210), p. 3. At the conclusion of this Order, this Court specifically finds “FBP’s position

 was not substantially justified” and that an award of fees and costs would not be unjust. Id., p. 7.

 Because this Court has already determined that the position taken by FBP was substantially

 unjustified and because no other basis for denying Flame its fees and costs under Rule 37(a)(5)

 has been asserted, this Court should award Flame the full amount of fees and costs requested in

 its motion.

        Even if Flame was precluded from seeking fees and costs related to the First Motion to

 Compel because it did not initially request such an award (which is not supported by the express

 language of Rule 37(a)(5)), Flame would be entitled to the fees and costs incurred in connection

 with the First Motion to Compel because these were expenses incurred in connection with the

 Third Motion to Compel. Contrary to FBP’s contention, there were no fees included in its

 request for fees and costs which were “unrelated” to Flame’s Third and Fourth Motions to

 Compel. One of the grounds for Flame’s Third Motion to Compel was FBP’s failure to provide

 the same kind of discovery granted by the Court in response to Flame’s First Motion to Compel.

 Flame has had to continue its effort to obtain the discovery to which it is rightfully entitled.

 Flame is entitled to recover all of the fees and costs associated with this effort, which would

 include the fees incurred in bringing the initial motion.

 II.    Because FBP does not challenge the reasonableness of the hours or rates applied,
        this Court should grant the full amount of fees and costs requested by Flame.

        Flame has properly set forth its basis for its request for attorneys’ fees in the amount of

 $31,196.00 and costs in the amount of $927.49 in accordance with Robinson v. Equifax Info



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 Servs., LLC, 560 F.3d 235, 243-44 (4th Cir. 2009). FBP does not dispute Flame’s arguments

 with regard to the consideration of the twelve factors in determining the reasonableness of hours

 and rates first set forth in Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974)

 and adopted by the Fourth Circuit. Further, FBP does not assert any grounds for reducing the

 fees requested following a consideration of these twelve factors and Flame contends there is no

 such basis. Under these circumstances, Flame is entitled to the full amount of attorneys’ fees and

 costs sought in its motion.

                                          CONCLUSION

        WHEREFORE, for the foregoing reasons and those set forth in the Memorandum in

 Support of Plaintiff Flame S.A.’s First Motion for Award of Attorneys’ Fees and Costs, Flame

 requests that this Court award it attorneys’ fees in the amount of $31,196.00, costs in the amount

 of $927.49, and all other just and necessary relief.

        Dated: August 25, 2014

                                                        FLAME S.A.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of August, 2014, I electronically filed a true and
 correct copy of the foregoing with the Clerk of the Court using the CM/ECF system, which will
 then send a notification of such electronic filing to the following counsel of record:

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